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                                                                      Page 21 of
                                                                              of 31
NAME, ADDRESS & TELEPHONE NUMBER OF ATTORNEY(S) OR PRO SE

KAMELA DEVOLE
WOOD SMITH HENNING BERMAN LLP
1760 MARKET STREET
SUITE 1001
PHILADELPHIA PA 19103

                 DEFENDANT VITIELLO

                                      UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ, et al.
                                                                      3:23-CV-0825
                                                       Plaintiff(s)

                                                                         STATEMENT OF CONSENT TO PROCEED
SILVIA VITIELLO, et al.
                                                                         (For use in Direct Assignment of Civil Cases to
                                                     Defendant(s).                  Magistrate Judges Only)

THIS CONSENT FORM SHALL BE USED ONLY FOR CASES IN WHICH A MAGISTRATE JUDGE IS INITIALLY
                       ASSIGNED PURSUANT TO STANDING ORDER 19-5

In accordance with Standing Order 19-5, Fed.R.Civ.P. 73 and 28 U.S.C. § 636(c), the above-captioned civil matter has
been assigned to Magistrate Judge JOSEPH F. SAPORITO, JR.                                . All parties to the above-captioned civil
matter are to select one of the following two options and return the Consent Form to consents@pamd.uscourts.gov or mail to
Clerk’s Administrative Assistant, Clerk’s Office, U.S. District Court, P.O. Box 1148, Scranton, PA 18501-1148, within 30 days
from the date the Consent Form was sent. This Consent Form was sent on ________________.
                                                                        05/23/23


✔       The party or parties listed below to the above-captioned civil matter consent pursuant to the provisions of Standing
        Order 19-5, 28 U.S.C. § 636(C) and Fed.R.Civ.P. 73(b), to have the assigned Magistrate Judge conduct all further
        proceedings in this case, including trial and entry of final judgment.

        Any appeal from a judgment of the assigned Magistrate Judge shall be taken to the United States Court of Appeals
        in the same manner as an appeal from any other judgment of the District Court in accordance with 28 U.S.C.
        § 636(c)(3).
        The party or parties listed below to the above-captioned civil matter do not consent to proceed before the
        assigned Magistrate Judge.

        The party or parties listed below acknowledge that they are free to decline consent without adverse substantive
        consequences.

Name of Counsel (OR Party if Pro Se)                   Signature and Date                  Counsel for (Name of Party or Parties)
Kamela Devole, Esquire                     6/22/23                                           Silvio Vitiello (incorrectly identified as S




NOTICE TO COUNSEL FROM CLERK:
All parties having consented to proceed before the assigned Magistrate Judge, this case will remain assigned to United
States Magistrate Judge JOSEPH F. SAPORITO, JR.                                      for all further proceedings.
                  STATEMENT OF CONSENT TO PROCEED BEFORE A UNITED STATES MAGISTRATE JUDGE
                            (For use in Direct Assignment of Civil Cases to Magistrate Judges only)
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                                                                      Page 31 of
                                                                              of 31
NAME, ADDRESS & TELEPHONE NUMBER OF ATTORNEY(S) OR PRO SE

CASEY ALAN COYLE
CHRISTINA MANFREDI MCKINLEY
BABST, CALLAND, CLEMENTS & ZOMNIR, P.C.
TWO GATEWAY CENTER
PITTSBURGH, PA 15222
412-394-5400
             DEFENDANT AIRBNB, INC.

                                      UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ, et al.
                                                                    3:23-CV-0825
                                                     Plaintiff(s)

                                                                       STATEMENT OF CONSENT TO PROCEED
SILVIA VITIELLO, et al.
                                                                       (For use in Direct Assignment of Civil Cases to
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        The party or parties listed below acknowledge that they are free to decline consent without adverse substantive
        consequences.

Name of Counsel (OR Party if Pro Se)                 Signature and Date                  Counsel for (Name of Party or Parties)
Christina Manfredi McKinley                /s/ Christina M. McKinley 6/22/22               AIRBNB, INC.




NOTICE TO COUNSEL FROM CLERK:
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States Magistrate Judge JOSEPH F. SAPORITO, JR.                                    for all further proceedings.
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